                   Case 1:25-cv-00946-CKK            Document 10          Filed 04/01/25         Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                   District
                                             __________     of Columbia
                                                         District of __________


LEAGUE OF UNITED LATIN AMERICAN CITIZENS;                      )
                             Plaintiff                         )
                                v.                             )      Case No.     1:25-cv-00946-CKK
      EXECUTIVE OFFICE OF THE PRESIDENT                        )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          LULAC, Secure Families initiative, and Arizona Students' Association                                         .


Date:          04/01/2025
                                                                                          Attorney’s signature


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